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1    CARL M. FALLER SBN: 70788
     FALLER LAW FIRM
2    Post Office Box 912
     Fresno, CA 93714
3    Phone: 559-226-1534
     carl.faller@fallerdefense,com
4

5    Attorney for Defendant
     SERGIO JARA
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7
                            IN THE UNITED STATED DISTRICT COURT
8
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,                        ) Case No.: 1:12-cr-00213-AWI –BAM-2
11                                                    )
                    Plaintiff,                        )
12                                                    ) STIPULATION AND ORDER TO ALLOW
            vs.                                       ) SALES OF REAL PROPERTY
13                                                    )
     SERGIO JARA,                                     )
14                                                    )
                    Defendant.                        )
15
            Defendant Sergio Jara is currently on pretrial release in this matter. One of the conditions
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     of that release is that he not engage in any real estate transactions without the consent of Pretrial
17
     Services. There are two pending property transactions that are set forth in more detail below and
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     Pretrial Services has indicated that it will have no objection to the transactions if they are
19
     approved by the government. Counsel for the government and counsel for the defendants have
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     reached an agreement concerning how the sales can be consummated and that agreement is set
21
     forth below.
22
            It is hereby stipulated and agreed upon as follows;
23
            There are currently pending at Ticor Title Company the following escrows: 1) Escrow
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     No.TTK-1301-FTKE-3011400917, for the sale of property located at 123 Clifton Street,
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     Bakersfield California, and 2) Escrow No. TTK-1301-FTKE-3011400918, for the sale of
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     property located at 1120 McNew Court, Bakersfield, California.
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1           These escrow transactions may close, and title to the property transferred upon the

2    following condition: After payment of all expenses of sale and satisfaction of encumbrances,

3    Fifty Percent (50%) of the net proceeds are to be distributed to the Seller. The remaining Fifty

4    Percent (50%) of the net proceeds are to be maintained by the escrow company pending further

5    order of this court and may not be disbursed until ordered by this court.

6           It is anticipated that the Fifty Percent (50%) of the net proceeds ordered held by the

7    escrow company will be deposited with the clerk of the court for the Eastern District of

8    California pursuant to a further order of this court, to be maintained by the clerk of the court

9    pending the resolution of this case.

10
     Dated: November 6, 2014                               /s/Carl M. Faller
11
                                                           CARL M. FALLER
12                                                         Attorney for Defendant

13
                                                           BENJAMIN B. WAGNER
14                                                         United States Attorney
15
     Dated: November 6, 2014                           By /s/Kirk Sherriff
16                                                        KIRK SHERRIFF
                                                          Assistant U.S. Attorney
17                                                        Attorney for United States of America

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           Case 1:12-cr-00213-JLT-BAM Document 189 Filed 11/10/14 Page 3 of 3



1                                                ORDER:

2           It is hereby ordered that the two escrow transactions described in the above stipulation

3    may close and title transferred, upon the following condition: After payment of all expenses of

4    sale and satisfaction of encumbrances, Fifty Percent (50%) of the net proceeds are to be

5    distributed to the Seller, and Fifty Percent (50%) of the net proceeds are to be maintained in the

6    escrow company account pending further order of this court.

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     IT IS SO ORDERED.
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9    Dated: November 7, 2014
                                                 SENIOR DISTRICT JUDGE
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